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           IN THE UNITED STATES COURT OF INTERNATIONAL TRADE

BEFORE: THE HONORABLE MARK A. BARNETT, CHIEF JUDGE
__________________________________________x
                                          :
JILIN BRIGHT FUTURE CHEMICALS CO.,        :
LTD.,                                     :
                                          :
                  Plaintiffs,             :
                                          :
       and                                :
                                          :
NINGXIA GUANGHUA CHERISHMET               :
ACTIVATED CARBON CO., LTD., and           :
DATONG MUNICIPAL YUNGUANG                 :
ACTIVATED CARBON CO., LTD.                :
                                          :  Court No. 22-00336
                  Plaintiff-Intervenors,  :
       v.                                 :
                                          :
UNITED STATES,                            :
                                          :
                  Defendant,              :
                                          :
       and                                :
                                          :
CALGON CARBON CORPORATION.,               :
and NORIT AMERICAS, INC.,                 :
                                          :
                  Defendant-Intervenors.  :
__________________________________________x

     PLAINTIFF-INTERVENORS’ MOTION FOR JUDGMENT ON THE AGENCY
                              RECORD


       Pursuant to Rule 56.2 of the Rules of the U.S. Court of International Trade, Plaintiff-

Intervenors Ningxia Guanghua Cherishmet Activated Carbon Co., Ltd., and Datong Municipal

Yunguang Activated Carbon Co., Ltd., respectfully move for judgment on the administrative

record. For the reasons set forth in the accompanying Memorandum of Law in support of its

motion, Plaintiff-Intervenors request that the Court determine that the U.S. Department of

Commerce’s final results in the fourteenth administrative review of the antidumping duty order
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on activated carbon from the People’s Republic of China, published as Certain Activated Carbon

From the People’s Republic of China: Final Results of Antidumping Duty Administrative

Review; and Final Determination of No Shipments; 2020–2021, 87 Fed. Reg. 67,671 (Nov. 9,

2022), and accompanying Issues & Decision Memorandum, is not supported by substantial

evidence on the record and is otherwise not in accordance with law.

                                                      Respectfully submitted,

                                                      GRUNFELD, DESIDERIO, LEBOWITZ,
                                                      SILVERMAN & KLESTADT LLP

                                                      /s/ Kavita Mohan
                                                      Kavita Mohan
                                                      Francis J. Sailer
                                                      Jordan C. Kahn
                                                      Dharmendra N. Choudhary

                                                      1201 New York Ave., NW, Suite 650
                                                      Washington, DC 20005
                                                      (202) 783-6881


Dated: June 8, 2023
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            IN THE UNITED STATES COURT OF INTERNATIONAL TRADE

BEFORE: THE HONORABLE MARK A. BARNETT, CHIEF JUDGE
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JILIN BRIGHT FUTURE CHEMICALS CO.,        :
LTD.,                                     :
                                          :
                  Plaintiffs,             :
                                          :
       and                                :
                                          :
NINGXIA GUANGHUA CHERISHMET               :
ACTIVATED CARBON CO., LTD., and           :
DATONG MUNICIPAL YUNGUANG                 :
ACTIVATED CARBON CO., LTD.                :
                                          :  Court No. 22-00336
                  Plaintiff-Intervenors,  :
       v.                                 :
                                          :
UNITED STATES,                            :
                                          :
                  Defendant,              :
                                          :
       and                                :
                                          :
CALGON CARBON CORPORATION.,               :
and NORIT AMERICAS, INC.,                 :
                                          :
                  Defendant-Intervenors.  :
__________________________________________x


                                           ORDER

        Upon consideration of the Motion for Judgment on the Administrative Record filed by

Plaintiff-Intervenors Ningxia Guanghua Cherishmet Activated Carbon Co., Ltd. and Datong

Municipal Yunguang Activated Carbon Co., Ltd., and upon all other papers and proceedings

herein, it is hereby

        ORDERED that Plaintiff-Intervenors’ Motion is granted; and further
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       ORDERED that the U.S. Department of Commerce’s (the “Department”) final results in

the fourteenth administrative review of the antidumping duty order (“ADD”) on activated carbon

from the People’s Republic of China, published as Certain Activated Carbon From the People’s

Republic of China: Final Results of Antidumping Duty Administrative Review; and Final

Determination of No Shipments; 2020–2021, 87 Fed. Reg. 67,671 (Nov. 9, 2022), and

accompanying Issues & Decision Memorandum, is not supported by substantial evidence on the

record, and is otherwise not in accordance with law; and it is further

       ORDERED that this matter is remanded to the Department for reconsideration in

accordance with the decision of this Court.


       SO ORDERED.

                                                  _____________________________________
                                                       Mark A. Barnett, Chief Judge



Dated: ___________________, 2023
        New York, New York
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          IN THE UNITED STATES COURT OF INTERNATIONAL TRADE

BEFORE: THE HONORABLE MARK A. BARNETT, CHIEF JUDGE
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                                          :
JILIN BRIGHT FUTURE CHEMICALS CO.,        :
LTD.,                                     :
                                          :
                  Plaintiffs,             :
                                          :
       and                                :
                                          :
NINGXIA GUANGHUA CHERISHMET               :
ACTIVATED CARBON CO., LTD., and           :
DATONG MUNICIPAL YUNGUANG                 :
ACTIVATED CARBON CO., LTD.                :
                                          :  Court No. 22-00336
                  Plaintiff-Intervenors,  :
       v.                                 :
                                          :
UNITED STATES,                            :
                                          :
                  Defendant,              :
                                          :
       and                                :
                                          :
CALGON CARBON CORPORATION.,               :
and NORIT AMERICAS, INC.,                 :
                                          :
                  Defendant-Intervenors.  :
__________________________________________x

      MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFF-INTERVENORS’
           MOTION FOR JUDGMENT ON THE AGENCY RECORD

                                            GRUNFELD, DESIDERIO, LEBOWITZ,
                                            SILVERMAN & KLESTADT LLP

                                            Francis J. Sailer
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Dated: June 8, 2023
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         Plaintiff-Intervenors Ningxia Guanghua Cherishmet Activated Carbon Co., Ltd.

(“Cherishmet”) and Datong Municipal Yunguang Activated Carbon Co., Ltd. (“Yunguang”)

submit this Memorandum of Law to support its Rule 56.2 Motion for Judgment on the Agency

Record.


                            STATEMENT PURSANT TO RULE 56.2

         A.     ADMINISTRATIVE DECISION UNDER APPEAL

         Plaintiff-Intervenors seek judicial review of the U.S. Department of Commerce’s (the

“Department” or “Commerce”) final results in the fourteenth administrative review of the

antidumping duty (“ADD”) order on activated carbon from the People’s Republic of China,

published as Certain Activated Carbon from the People’s Republic of China: Final Results of

Antidumping Duty Administrative Review; and Final Determination of No Shipments; 2020–

2021, 87 Fed. Reg. 67,671 (Nov. 9, 2022) (“Final Results”), PD 351, and accompanying Issues

and Decision Memorandum (“IDM”), PD 345.

         B.     REASONS FOR CONTESTING THE ADMINISTRATIVE DECISION

         Plaintiff-Intervenors’ reasons for contesting the Final Results are set forth in the

Summary of Arguments below, and in more detail in the Argument section of this Memorandum.

         C.     ISSUES PRESENTED AND SUMMARY OF ARGUMENT

         Plaintiff-Intervenors incorporate by reference the issues presented and summary of

arguments in the Memorandum of Law filed by Plaintiff Jilin Bright Future Chemicals Co. Ltd.

(“Jilin Bright” or “Plaintiff”) in support of its 56.2 Motion for Judgment Upon the Agency

Record. 1




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    See CM/ECF Docs. 37 and 38 (May 25, 2023).
                                                   1
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                                    STATEMENT OF FACTS

          Cherishmet and Yunguang participated in the fourteenth administrative review of the

ADD order on activated carbon from the People’s Republic of China as separate rate

respondents. In the Final Results, both companies received a rate of 0.62 USD/kg, based upon

“the calculated weighted-average dumping margin for the mandatory respondent whose rate was

not zero, de minimis (i.e., less than 0.5 percent), or based entirely on facts available (i.e., the

weighted-average dumping margin for Jilin Bright).” 87 Fed. Reg. at 67,672.

        Plaintiff-Intervenors incorporate by reference the other facts contained in the statement of

facts in the Memorandum of Law filed by Plaintiff Jilin Bright in support of its 56.2 Motion for

Judgment Upon the Agency Record.


                                    STANDARD OF REVIEW

        Plaintiff-Intervenors incorporate by reference the standard of review set forth in the

Memorandum of Law filed by Plaintiff Jilin Bright in support of its 56.2 Motion for Judgment

Upon the Agency Record.


                                            ARGUMENT

        Plaintiff-Intervenors incorporate by reference the arguments in the Memorandum of Law

filed by Plaintiff Jilin Bright in support of its 56.2 Motion for Judgment Upon the Agency

Record.

        If the rate assigned to Plaintiff is lowered as a result of this appeal, the Department

should recalculate the separate rate assigned to Plaintiff-Intervenors in accordance with 19

U.S.C. § 1673d(c)(5)(a).

                                                        Respectfully submitted,

                                                        GRUNFELD, DESIDERIO, LEBOWITZ

                                                   2
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                                       /s/ Kavita Mohan
                                       Kavita Mohan
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Dated: June 8, 2023




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                            CERTIFICATE OF COMPLIANCE

Pursuant to Chamber Procedure 2(B)(1), the undersigned certifies that this brief complies with
the word limitation requirement. The word count for Plaintiff-Intervenors’ Memorandum of
Law In Support of its 56.2 Motion, as computed by Grunfeld, Desiderio, Lebowitz, Silverman &
Klestadt’s word processing system Microsoft Word 2013, is 422 words, less than the allocated
word limit.

                                                   /s/ Kavita Mohan
                                                   Kavita Mohan

                                                   Counsel for Plaintiff-Intervenors Ningxia
                                                   Guanghua Cherishmet Activated Carbon
                                                   Co., Ltd., and Datong Municipal Yunguang
                                                   Activated Carbon Co., Ltd
Dated: June 8, 2023




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